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 PEARSON, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 SYMBOLOGY INNOVATIONS, LLC,                    )
                                                )     CASE NO. 1:20CV0889
                   Plaintiff,                   )
                                                )
        v.                                      )     JUDGE BENITA Y. PEARSON
                                                )
 L’OCCITANE, INC.,                              )
                                                )     ORDER OF DISMISSAL
                   Defendant.                   )     [Resolving ECF Nos. 7 and 17]



        Pending is the parties’ Joint Motion to Dismiss (ECF No. 17) pursuant to Fed. R. Civ. P.

 41(a)(2). For good cause shown, the motion is granted. All claims against Defendant

 L’Occitane, Inc. are dismissed with prejudice and all counterclaims against Plaintiff Symbology

 Innovations, LLC are dismissed without prejudice, with each party to bear its own attorney’s

 fees and costs.

        The Telephonic Case Management Conference set for July 27, 2020, is cancelled.

 Defendant’s Rule 12(b)(6) Motion to Dismiss for Failure to State a Claim (ECF No. 7) is denied

 as moot.



        IT IS SO ORDERED.


  July 9, 2020                                 /s/ Benita Y. Pearson
 Date                                        Benita Y. Pearson
                                             United States District Judge
